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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           LYNCHBURG DIVISION


                                                          Action No: 6:21CV00059
 Jane Doe                                                 Date: March 9, 2022
 vs.                                                      Judge: Norman K. Moon
                                                          Court Reporter: Mary Butenschoen
 Liberty University, Inc., et al.
                                                          Deputy Clerk: Carmen Amos



 Plaintiff Attorney(s)                            Defendant Attorney(s)
 Grace H. Williams                                Harold E. Johnson
                                                  John E. Falcone



                                    LIST OF WITNESSES

 PLAINTIFF/GOVERNMENT:                            DEFENDANT:
 1.                                               1.



 PROCEEDINGS:

 All parties present by Zoom video-conference for hearing on ECF No. 10 – Motion to Dismiss
 filed by Charles Tippett & ECF No. 15 – Motion to Dismiss for Failure to State a Claim filed by
 Liberty University, Inc.

 Arguments heard. Order forthcoming.



 Time in Court: 10:00 – 10:43 a.m. (43 minutes)
